                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF LOUISIANA
__________________________________________
UNITED STATES OF AMERICA,                  )
                                           )
                        Plaintiff,         )
                                           ) Civil Action No. 2:23-cv-735
                        v.                 )
                                           ) Judge Barbier (Section: J (5))
DENKA PERFORMANCE ELASTOMER, LLC )
and DUPONT SPECIALTY PRODUCTS USA,         ) Magistrate Judge North
LLC,                                       )
                                           )
                        Defendants.        )
__________________________________________)

                                     [PROPOSED] ORDER

        Having considered the United States’ Motion to Reopen Case and Set Status Hearing and

supporting memorandum (ECF No. 180), and finding good cause for the same:

        IT IS ORDERED that this case is reopened.

        IT IS FURTHER ORDERED that this matter is set for a status hearing on

________________________ to advise the Court of the status of the related litigation in the Fifth

and D.C. Circuit Courts of Appeals, and to determine the United States’ request to reset a trial

date.




New Orleans, Louisiana, this ________ day of ___________________, 2024.




                                             _______________________________________
                                             THE HONORABLE JUDGE CARL J. BARBIER
                                             UNITED STATES DISTRICT JUDGE
                                             EASTERN DISTRICT OF LOUISIANA
